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IN THE UNITED sTATEs DIsTRIcT couRm -HEDmL" _mri_na
FoR THE WESTERN DISTRICT oF TENNEssEE
wEsTERN DIvIsIoN 05 AUG 30 AH G=Sk
H{RWSM.GIRD
wILLIE MARTIN, individually and GEH£U&DBWMHOUFH
as Administrator of the Estate W/DOFTN.MEMP}'|S

of Kevin Scottr and LINDA
SCOTT HARRIS, Individually
and as mother of Kevin Scott

Plaintiffs,
No. 05-2181 Ml/P

V.

coRREcTIoN coRPoRATIoN oF
AMERICA, et al,

vh_¢vv\.¢v-_¢vv\'v*_¢\_¢vvv

Defendants.

 

ORDER TO SHOW CAUSE

 

Before the Court is the Motion to Intervene and to Amend
Complaint and Supportinq Memorandum by Plaintiff Willie Martin
and Potential Intervenor Scott Peatross, filed July 15, 2005.
Under Local Rule 7.2(a)(2) and Fed. R. Civ. P. 6, a response to
the motion was due on or before August 2, 2005. To date,
Plaintiff Linda Scott Harris has not filed a response.
Aocordingly, Plaintiff is hereby ORDERED to SHOW CAUSE within ten
(10) days of the date of entry of this Order why Plaintiff

Martin’s and Potential Intervenor’s motion should not be

This document entered on the docket sheet ln compliance

with noia 53 and/or 79(3) FHGP on 8'@ 'O,§ 3 2 '

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granted.l

Failure to respond to this Order to Show Cause in a timely

manner may result in a judgment in favor of Plaintiff Martin and

Potential Intervenor on the motion.

So ORDERED this £q day of August, 2005.

J»Q m wl

P. MCCALLA
U ITED STATES DISTRICT JUDGE

 

 

1 To comply with this Order, Plaintiff must file a
written response to the above motion.

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thice of Distribution

This notice confirms a copy cf the document docketed as number 32 in
case 2:05-CV-02181 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

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Honcrable J on McCalla
US DISTRICT COURT

